                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                       EASTERN (DUBUQUE) DIVISION

UNITED STATES OF AMERICA,
                                                )
             Plaintiff,                         )         No. CR 22-01021-CJW
                                                )
      vs.                                       )
                                                )
RASHAUN TERRANCE CARTER,                        )
                                                )
             Defendant.                         )


              GOVERNMENT=S SENTENCING MEMORANDUM

      The United States hereby provides its sentencing memorandum.

A.    Government Witnesses: TFO Adam Williams, if needed

B.    Government Exhibits: GE 1 (PSR ¶ 46)
                           GE 2 (PSR ¶ 50)

C.    Sentencing Issues: The presentence report identifies the following as

issues for resolution at sentencing: (1) whether defendant is subject to a 2-level

increase under USSG §2D1.1(b)(12); (2) whether defendant should be assessed 1

criminal history point for his conviction of Iowa Code §§ 299.1, 299.5A, and 299.6 for

failing to comply with a school truancy agreement he signed regarding ensuring two

of his minor children attended school (PSR ¶ 46); (3) whether defendant should be

assessed 1 criminal history point for his conviction for reckless driving (PSR ¶ 50);

and (4) whether an alcohol restriction is appropriate (PSR ¶ 104).




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 Defendant Is Appropriately Assessed 2 Levels Under USSG §2D1.1(b)(12)
                     For Maintaining a Premises

      The Presentence Report assessed defendant with a 2-level increase

under USSG §2D1.1(b)(12) for maintaining “a premises for the purpose of

manufacturing or distributing a controlled substance.” USSG §2D1.1(b)(12).

The premise involved was a house defendant lived in from 2015-2017 at XXX

West 17th Street, in Dubuque, Iowa. (PSR ¶ 5). Defendant sold drugs out of

that residence and allowed others to do so as well, even after he moved his

family elsewhere. (PSR ¶¶ 5, 9). The application notes for this offense

characteristic provides:

      Subsection (b)(12) applies to a defendant who knowingly maintains a
      premises (i.e., a building, room, or enclosure) for the purpose of
      manufacturing or distributing a controlled substance, including
      storage of a controlled substance for the purpose of distribution.

      Among the factors the court should consider in determining whether
      the defendant “maintained” the premises are (A) whether the
      defendant held a possessory interest in (e.g., owned or rented) the
      premises and (B) the extent to which the defendant controlled access
      to, or activities at, the premises.

      Manufacturing or distributing a controlled substance need not be the
      sole purpose for which the premises was maintained, but must be one
      of the defendant’s primary or principal uses for the premises, rather
      than one of the defendant’s incidental or collateral uses for the
      premises. In making this determination, the court should consider
      how frequently the premises was used by the defendant for
      manufacturing or distributing a controlled substance and how
      frequently the premises was used by the defendant for lawful purposes.

USSG §2D1.1 (comment n.17).

      In 2017, when defendant moved his family elsewhere, he kept the property

leased in his name and allowed others in defendant’s drug conspiracy to use the


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property to use the property to sell controlled substances, including Malcolm

Thornton and J.B.. (PSR ¶ 5, Plea Agreement 15B). Defendant left the utilities for

this residence in his name. (PSR ¶ 5, Plea Agreement 15B). Defendant “knew that

heroin was being sold out of the residence at XXX West 17th Street and sometimes

steered customers to the residence at said address to obtain heroin.” (PSR ¶ 5, Plea

Agreement 15B).

      A number of trash searches at the XXX West 17th Street address revealed

indicia of drug trafficking. (PSR ¶¶ 6-8, 10-11; Plea Agreement ¶¶ 15C-E, G-H).

Surveillance of XXX West 17th Street resulted in officers seeing numerous

individuals including defendant engage in drug transactions at the residence (PSR

¶¶ 7, 9; Plea Agreement ¶ 15J). Law enforcement also conducted controlled

transactions at XXX West 17th Street and seized drugs from persons known to be

selling cocaine and heroin there. (PSR ¶¶ 12, 13, 14, 15).

        In this case defendant leased the property at XXX West 17th Street, had

the utilities in his name, and he and his co-conspirators sold drugs out of the

residence, even after defendant moved his family to another residence in Dubuque.

Defendant rented the property and kept the utilities in his name even after moving

out, and “maintained” the residence within the meaning of USSG §2D1.1(b)(12).

The drug trafficking activities by defendant and his co-conspirators was not

incidental or collateral, the property was used a regular and routine drug

distribution location by defendant and his conspirators. Applying the increase

under USSG §2D1.1(b)(12) is appropriate in this case. See United States v.



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Hernandez Lopez, 24 F.4th 1205 (8th Cir. 2022) (applying USSG §2D1.1(b)(12)

adjustment for defendant who used the basement of his own residence to store

methamphetamine).

  Defendant Is Correctly Assessed 1 Criminal History Point for Violating
              Iowa’s Compulsory Education Law (PSR ¶ 46)

      On May 16, 2014, defendant and his wife signed a Truancy Mediation

agreement with the Dubuque Community School System agreeing they would

ensure his two minor children would attend school. (PSR ¶ 46; Government Exhibit

1, at 5). On August 14, 2014, defendant refused to comply with the agreement, and

the matter was referred for prosecution. (PSR ¶ 46; Government Exhibit 1, at 5-7).

Defendant was convicted of Compulsory Education Law Violation, First Offense, in

violation of Iowa Code §§ 299.1, 299.5A, and 299.6, and was sentenced to two years’

probation. (PSR ¶ 46; Government Exhibit 1, at 1-2).

      Iowa law requires children of compulsory age to attend school. Iowa Code

§ 299.1. If a child who is subject to compulsory education is absent from school, and

the “parent, guardian, or legal or actual custodian, or child refuses to accept the

school’s attempt to assure the child’s attendance or the school’s attempt to assure

the child’s attendance is otherwise unsuccessful, the truancy officer shall refer the

matter to the county attorney for mediation or prosecution.” Iowa Code § 299.5A.

      If the matter is referred for mediation, and the parties reach an agreement to

ensure the child’s educational needs are met, “the agreement shall be reduced to

writing and signed by a school officer, parent, guardian, or legal or actual custodian,

and the child. The mediator, the school, and the parent, guardian, or legal or actual


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custodian shall each receive a copy of the agreement, which shall set forth the

settlement of the issues and future responsibilities of each party.” Iowa Code

§ 299.5A.

      “If a parent, guardian, or legal or actual custodian refuses to engage in

mediation or violates a term of the agreement, the matter shall be rereferred to the

county attorney for prosecution under section 299.6.” Iowa Code § 299.5A. If a

person violates a mediation agreement “commits a public offense” and if it is a first

offense the crime is “a simple misdemeanor.” Iowa Code § 299.6. The Iowa

Supreme Court has found the Iowa Code § 299.6 to be a penal statute that

applicable to the adult custodian and not the minor child, although the juvenile is

committing the act of truancy. In re J.T., 715 N.W.2d 770, 2006 WL 782481 (Iowa

Ct. App. 2006) (unpublished).

      USSG §4A1.2(c) provides:

      Sentences for all felony offenses are counted. Sentences for
      misdemeanor and petty offenses are counted, except as follows:

      (1) Sentences for the following prior offenses and offenses similar to them, by
          whatever name they are known, are counted only if (A) the sentence was a
          term of probation of more than one year or a term of imprisonment of at
          least thirty days, or (B) the prior offense was similar to an instant offense:

            Careless or reckless driving
            Contempt of court
            Disorderly conduct or disturbing the peace
            Driving without a license or with a revoked or suspended license
            False information to a police officer
            Gambling
            Hindering or failure to obey a police officer
            Insufficient funds check
            Leaving the scene of an accident
            Non-support


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         Prostitution
         Resisting arrest
         Trespassing.

      (2) Sentences for the following prior offenses and offenses similar to
          them, by whatever name they are known, are never counted:

         Fish and game violations
         Hitchhiking
         Juvenile status offenses and truancy
         Local ordinance violations (except those violations that are also
         violations under state criminal law)
         Loitering
         Minor traffic infractions (e.g., speeding)
         Public intoxication
         Vagrancy.

USSG §4A1.2(c). In determining if an offense is to be counted under USSG

§4A1.2(c):

      In determining whether an unlisted offense is similar to an offense
      listed in subsection (c)(1) or (c)(2), the court should use a common
      sense approach that includes consideration of relevant factors such as
      (i) a comparison of punishments imposed for the listed and unlisted
      offenses; (ii) the perceived seriousness of the offense as indicated by
      the level of punishment; (iii) the elements of the offense; (iv) the level
      of culpability involved; and (v) the degree to which the commission of
      the offense indicates a likelihood of recurring criminal conduct.

USSG §4A1.1 (comment n.12(A)).

      Records obtained by the probation office show defendant was 37 when he

allowed his children to become truant from school, entered into an agreement under

Iowa law with the State to ensure his children attended school, and subsequently

violated that agreement and committed a crime under Iowa law. (PSR ¶ 46).

Defendant received a sentence of 2 years’ probation. (PSR ¶ 46).




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      Defendant asserts his akin to a juvenile status offense relying upon United

States v. Weller, 102 F. Supp. 3d 1065, 1079 (N.D. Iowa 2015). Defendant’s reliance

on Weller is misplaced. In Weller, the court found a defendant’s conviction “for

contributing to the delinquency of a minor, consisting of encouraging minors to

violate a curfew ordinance, should not be awarded a criminal history point” under

USSG §4A1.1. United States v. Weller, 102 F. Supp. 3d 1065, 1079 (N.D. Iowa

2015). In Weller, the defendant’s contributing to the delinquency of a minor offense

was coupled with his other crime of possession of an open container of alcohol. Id.

at 1067. These crimes occurred when Weller was 19 years old (under the legal

drinking age of 21), riding with two minors in possession of open containers of

alcohol, at a time when the juveniles were supposed to be home. Id. The offense

occurred the day after Mr. Weller graduated from high school. Id. Here, defendant

was clearly an adult who entered into an agreement to ensure his children attended

school and chose to violate his agreement with the school, for which he received a 2-

year term of probation. (Government Exhibit 1).

      In context, when the sentencing guidelines indicate “Juvenile status offenses

and truancy” should not be assessed criminal history points, it is referring to those

types of crimes personally committed by the defendant, when the defendant was a

youthful offender. In this case defendant was not personally truant and was clearly

not a youthful offender when he allowed his children to become truant. The

defendant’s crime was failing to comply with the agreement he made to ensure his

children were in school. Defendant’s crime was not a crime based upon his juvenile



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status. The presentence report correctly finds defendant’s violation of his

agreement to ensure his children attended school was akin to a contempt of court.

Defendant is correctly assessed 1 criminal history point for this offense.

  Defendant Is Correctly Assessed 1 Criminal History Point for Reckless
                           Driving (PSR ¶ 50)

         At paragraph 50, the presentence report assessed defendant with 1 criminal

history point for his conviction in Stephenson County, Illinois for the offense of

reckless driving that resulted in a 2-year term of probation. (PSR ¶ 50; Government

Exhibit 2). Under USSG §4A1.1(c), since defendant received a probationary

sentence of 1 year or more, he is appropriately assessed a criminal history point for

this conviction, based upon records obtained by the probation office (Government

Exhibit 2).

         Imposition Of an Alcohol Condition Is Appropriate In This Case

         Defendant objects to a proposed condition that he “must not use or possess

alcohol. The defendant is prohibited from entering any establishment that holds

itself out to the public to be a bar or tavern without the prior permission of the

United States Probation Office.” (PSR ¶ 104). Defendant has multiple alcohol and

intoxication-related offenses. (PSR ¶¶ 38, 39, 43, 47, 50). Defendant is going to be

sentenced for a drug offense and has prior drug-related offenses or conduct. (PSR

¶¶ 1, 44, 47). Defendant is currently 45 years old, and has a self-reported history of

alcohol use from ages 18 to 44, and marijuana use from ages 18 to 45. (PSR ¶¶ 80,

81). Records show defendant’s last substance abuse treatment was in 2001. (PSR

¶ 83).


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      Courts have “broad discretion” in imposing special conditions of supervised

release, but each condition must (1) be “reasonably related” to the sentencing

factors set forth in 18 U.S.C. § 3553(a), (2) involve “no greater deprivation of liberty

than is reasonably necessary for the purposes set forth in § 3553(a),” and (3) be

“consistent with any pertinent policy statement issued by the Sentencing

Commission.” See United States v. Woodall, 782 F.3d 383, 385-86 (8th Cir. 2015)

(internal quotation omitted).

      Title 18, United States Code, Section 3583 permits the district court to

impose “any . . . condition it considers to be appropriate” so long as the condition “is

reasonably related to the factors set forth in section 3553(a)(1), (a)(2)(B), (a)(2)(C),

and (a)(2)(D)” and “involves no greater deprivation of liberty than is reasonably

necessary for the purposes set forth in section 3553(a)(2)(B), (a)(2)(C), and (a)(2)(D).”

Similarly, the sentencing guidelines permit a court to impose discretionary terms of

supervised release that:

      (1) are reasonably related to (A) the nature and circumstances of the
      offense and the history and characteristics of the defendant; (B) the
      need for the sentence imposed to afford adequate deterrence to
      criminal conduct; (C) the need to protect the public from further crimes
      of the defendant; and (D) the need to provide the defendant with
      needed educational or vocational training, medical care, or other
      correctional treatment in the most effective manner; and (2) involve no
      greater deprivation of liberty than is reasonably necessary for the
      purposes set forth above and are consistent with any pertinent policy
      statements issued by the Sentencing Commission.

USSG §5D1.3(b).

      “‘In fashioning a special condition of supervised release, a court must make

an individualized inquiry into the facts and circumstances underlying a case and


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make sufficient findings on the record so as to ensure that the special condition

satisfies the statutory requirements.’” United States v. Schaefer, 675 F.3d 1122,

1124 (8th Cir. 2012) (quoting United States v. Springston, 650 F.3d 1153, 1156 (8th

Cir. 2011), vacated and remanded on other grounds, 132 S. Ct. 1905 (2012)). “A

special condition need not be related to all the factors; the factors are to be weighed

independently.” Id. (quoting Springston, 650 F.3d at 1155‑56).

         Defendant has a long history of alcohol and drug use and legal problems

resulting from drug or alcohol use. He does not have a recent history of drug or

alcohol treatment, with his last treatment being in 2001. (PSR ¶ 83). Imposition of

the proposed condition is in order based upon defendant’s background and

treatment history. Of course, if defendant completes alcohol or drug treatment

while in the Bureau of Prisons custody, and demonstrates that the condition is not

needed, he can work with his probation officer to have it removed as part of a

modification of his supervised release.

                                                   Respectfully submitted,

                                                   TIMOTHY T. DUAX
                                                   United States Attorney

                                                   By, /s/ Patrick J. Reinert
 CERTIFICATE OF SERVICE
                                                   PATRICK J. REINERT
I hereby certify that on May 3, 2023, I            Assistant United States Attorney
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which will send notification of such filing
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